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 8 Attorneys for Richard A. Marshack,
   Trustee of the LPG Liquidation Trust
 9
                            UNITED STATES BANKRUPTCY COURT
10
                CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION
11
   In re:                                     Case No.: 8:23-bk-10571-SC
12
   THE LITIGATION PRACTICE GROUP P.C.
                                              Adv. Proc. No.: 8:23-ap-01046-SC
13

14                Debtor.                             Chapter 11

15 RICHARD A. MARSHACK,                               JOINT STATUS REPORT BETWEEN
   Chapter 11 Trustee                                 RICHARD A. MARSHACK, TRUSTEE
16                                                    OF THE LPG LIQUIDATION TRUST,
                 Plaintiff,                           CONSUMER LEGAL GROUP, P.C., LGS
17
   v.                                                 HOLDCO, LLC, GREYSON LAW
18                                                    CENTER PC, HAN TRINH AND
                                                      PHUONG JAYDE TRINH
19 TONY DIAB, an individual; DANIEL S.
   MARCH, an individual; ROSA BIANCA LOLI,            Judge: Hon. Scott C. Clarkson
20 an individual; ENG TAING, an individual;
   HENG TAING, an individual; WES THOMAS,
21 an individual; SCOTT JAMES EADIE, an
   individual; JIMMY CHHOR, an individual;
22
   DONGLIANG JIANG, an individual; MAX
23 CHOU, an individual; OAKSTONE LAW
   GROUP PC; GREYSON LAW CENTER PC;
24 MAVERICK MANAGEMENT GROUP, LLC;
   LGS HOLDCO, LLC; CONSUMER LEGAL
25 GROUP, P.C.; VULCAN CONSULTING

26 GROUP LLC; BAT INC. d/b/a COAST
   PROCESSING; PRIME LOGIX, LLC;
27 TERACEL BLOCKCHAIN FUND II LLC;
   EPPS; EQUIPAY; WORLD GLOBAL;
28 OPTIMUMBANK HOLDINGS, INC. d/b/a
   OPTIMUM BANK; REVOLV3, INC.; MERIT

                                                  1
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 1 FUND, LLC; GUARDIAN PROCESSING, LLC;
   PAYLIANCE, LLC; TOUZI CAPITAL,
 2 LLC; SEAMLESS CHEX INC; DWOLLA,
   INC.; and DOES 1 through 100, inclusive,
 3
                Defendants.
 4

 5

 6

 7

 8          Pursuant the Order on Stipulation between Richard A. Marshack, Trustee of the LPG
 9 Liquidation Trust and Defendants Consumer Legal Group, P.C., LGS Holdco, LLC, Greyson Law

10 Center PC, Han Trinh, and Phuong Jayde Trinh [Dkt. No. 768] (the “Order”), Richard A. Marshack,

11 Trustee of the LPG Liquidation Trust (“Trustee”) and Defendants Consumer Legal Group, P.C.

12 (“CLG”), LGS Holdco, LLC (“LGS”), Greyson Law Center PC (“Greyson”), Han Trinh (“Han”), and

13 Phuong Jayde Trinh (“Jayde”) (collectively as the “Parties”) hereby submit this Joint Status Report.

14          The hearing on the Motion for Order Approving Stipulation Between Trustee of the LPG
15 Liquidation Trust and Tony Diab [Dkt. No. 761] (the “Motion”) is set for hearing on May 21, 2025,

16 at 11:00 a.m. (the “Hearing”).

17          Defendants CLG and LGS filed an opposition to the Motion on April 23, 2025 [Dkt. No. 764]
18 and Defendants Greyson, Han, and Jayde filed an opposition to the Motion on April 24, 2025 [Dkt.

19 765].

20          On April 30, 2025, the Trustee filed his reply in support of the Motion [Dkt. No. 766].
21          On May 6, 2025, the Court entered the Order on Stipulation between Richard A. Marshack,
22 Trustee of the LPG Liquidation Trust and Defendants Consumer Legal Group, P.C., LGS Holdco,

23 LLC, Greyson Law Center PC, Han Trinh, and Phuong Jayde Trinh [Dkt. 768] continuing the Motion

24 to May 21, 2025, at 11:00 a.m. and ordering the Parties to file a Joint Status Report or an agreed upon

25 form of Order on the Stipulation seven (7) days prior to the continued hearing.

26          On May 14, 2025, the Parties filed a Joint Status Report [Dkt. No. 771] indicating that they
27 were attempting to resolve the Motion in advance of the Hearing.

28 / / /


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         May 20, 2025
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           May 20, 2025
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                              Exhibit A
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 6 Attorneys to Plaintiff, Richard A. Marshack, Trustee of the LPG Liquidation Trust

 7

 8                             UNITED STATES BANKRUPTCY COURT

 9              CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION

10 In re:                                              Case No.: 8:23-bk-10571-SC

11 THE LITIGATION PRACTICE GROUP, PC,                  Adv. Proc. No.: 8:23-ap-01046-SC

12                Debtor,                              Chapter 11

13                                                     ORDER ON RICHARD A. MARSHACK’S
                                                       MOTION FOR ORDER APPROVING
14                                                     STIPULATION BETWEEN TRUSTEE OF
                                                       THE LPG LIQUIDATION TRUST AND
15                                                     TONY DIAB
16
                                                       Date: May 7, 2025
17                                                     Time: 11:00 a.m.
                                                       Judge: Hon. Scott C. Clarkson
18                                                     Place: Courtroom 5C
                                                              411 W. Fourth Street
19                                                            Santa Ana, California 92701
20
   RICHARD A. MARSHACK,
21 Chapter 11 Trustee,

22                Plaintiff,
23 v.

24 TONY DIAB, an individual; DANIEL S.
   MARCH, an individual; ROSA BIANCA LOLI,
25 an individual; ENG TAING, an individual;
   HENG TAING, an individual; WES THOMAS,
26 an individual; SCOTT JAMES EADIE, an
   individual; JIMMY CHHOR, an individual;
27 DONGLIANG JIANG, an individual; MAX
   CHOU, an individual; OAKSTONE LAW
28 GROUP PC; GREYSON LAW CENTER PC;
   MAVERICK MANAGEMENT GROUP, LLC;
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 1 LGS HOLDCO, LLC; CONSUMER LEGAL
   GROUP, P.C.; VULCAN CONSULTING
 2 GROUP LLC; BAT INC. d/b/a COAST
   PROCESSING; PRIME LOGIX, LLC;
 3 TERACEL BLOCKCHAIN FUND II LLC;
   EPPS; EQUIPAY; WORLD GLOBAL;
 4 OPTIMUMBANK HOLDINGS, INC. d/b/a
   OPTIMUM BANK; REVOLV3, INC.; MERIT
 5 FUND, LLC; GUARDIAN PROCESSING, LLC;
   PAYLIANCE, LLC; TOUZI CAPITAL, LLC;
 6 SEAMLESS CHEX INC; DWOLLA, INC.; and
   DOES 1 through 100, inclusive,
 7
                Defendants.
 8

 9          Pursuant to the Motion for Order Approving Stipulation Between Trustee of the LPG
10 Liquidation Trust and Tony Diab, filed on April 16, 2025, as Docket No. 761 (the “Motion”), and

11 good cause appearing:

12          1.     The Parties consent to the entry of a final order and judgment by the Bankruptcy Court.
13          2.     The Court shall enter a non-dischargeable judgment against Diab and Coast
14 Processing, jointly and severally, and in favor of the Trustee/Plaintiff in the minimum amount of

15 $100,000,000.00 (“Non-dischargeable Judgment”), which is subject to increase upon further proof,

16 such further proof to be provided in the form of a default judgment prove up pursuant to the Federal

17 Rules of Bankruptcy Procedure and/or Local Rules, upon regular notice as provided therein.

18          3.     Diab acknowledges and agrees that the Non-dischargeable Judgment is based upon his
19 own fraud, breach of fiduciary duty, and willful and malicious injury to the Debtor including, but not

20 limited to, Diab not requiring the Debtor to maintain client payments in trust, violating numerous

21 federal and state consumer protection laws, and operating the Debtor as a Ponzi scheme. .

22          4.     Diab shall cooperate in every extent possible, with the Trustee’s efforts to obtain
23 documents and information relating to the Recitals and any other matters which are subject to the

24 Bankruptcy Case and other related adversaries, which Diab is able to obtain.

25          5.     Diab shall appear as a witness at any and all hearings, trials, or other matters at which
26 the Trustee requests Diab to appear, with notice given of not less than 15-days, and at his own

27 expense.

28 / / /

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 1         6.     The parties hereto have been represented by counsel or have had the opportunity to be

 2 represented by counsel and have knowingly waived such opportunity.

 3         7.     Diab shall remain bound by the Court’s preliminary injunction [in Dkt. 70].

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       IT IS SO ORDERED.
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

DINSMORE & SHOHL LLP
655 West Broadway, Suite 800
San Diego, California 92101

A true and correct copy of the foregoing document entitled (specify): JOINT STATUS REPORT BETWEEN RICHARD A.
MARSHACK, TRUSTEE OF THE LPG LIQUIDATION TRUST, CONSUMER LEGAL GROUP, P.C., LGS HOLDCO,
LLC, GREYSON LAW CENTER PC, HAN TRINH AND PHUONG JAYDE TRINH will be served or was served (a) on the
judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On May 20,
2025, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Keith Barnett                                                                 keith.barnett@troutman.com
on behalf of Defendant Payliance, LLC                                         kelley.wade@troutman.com

                                                                         Service information continued on attached page
2. SERVED BY UNITED STATES MAIL:
On May 20, 2025, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

                                                           JUDGE'S COPY
                                                     Honorable Scott C. Clarkson
                                      United States Bankruptcy Court. Central District of California
                                           Ronald Reagan Federal Building and Courthouse
                                          411 West Fourth Street, Suite 5130 / Courtroom 5C
                                                      Santa Ana, CA 92701-4593
                                                                               Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on May 20, 2025, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 May 20, 2025 Angelica Urena                                                            /s/ Angelica Urena
 Date                           Printed Name                                            Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


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1.      TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

Bradford Barnhardt                                                            bbarnhardt@marshackhays.com
on behalf of Plaintiff Richard A. Marshack                                    bbarnhardt@ecf.courtdrive.com
                                                                              alinares@ecf.courtdrive.com
Bradford Barnhardt                                                            bbarnhardt@marshackhays.com
on behalf of Trustee Richard A. Marshack (TR)                                 bbarnhardt@ecf.courtdrive.com
                                                                              alinares@ecf.courtdrive.com
Eric Bensamochan                                                              eric@eblawfirm.us
on behalf of Interested Party Courtesy NEF                                    G63723@notify.cincompass.com
Christopher Celentino                                                         christopher.celentino@dinsmore.com
on behalf of Plaintiff Richard A. Marshack                                    caron.burke@dinsmore.com
Christopher Celentino                                                         christopher.celentino@dinsmore.com
on behalf of Trustee Richard A Marshack (TR)                                  caron.burke@dinsmore.com
Leslie A Cohen                                                                leslie@lesliecohenlaw.com
on behalf of Defendant Rosa Bianca Loli                                       jaime@lesliecohenlaw.com
                                                                              clare@lesliecohenlaw.com
Leslie A Cohen                                                                leslie@lesliecohenlaw.com
on behalf of Interested Party Courtesy NEF                                    jaime@lesliecohenlaw.com
                                                                              clare@lesliecohenlaw.com
Michael T Delaney                                                             mdelaney@bakerlaw.com
on behalf of Defendant Fidelity National Information                          tbreeden@bakerlaw.com
Services, Inc. dba FIS
Jamie P Dreher                                                                jdreher@downeybrand.com
on behalf of Defendant EPPS                                                   amasson@downeybrand.com
                                                                              courtfilings@downeybrand.com
Alan W Forsley                                                                alan.forsley@flpllp.com
on behalf of Interested Party Courtesy NEF                                    awf@fkllawfirm.com
                                                                              awf@fl-lawyers.net
                                                                              addy@flpllp.com
                                                                              andrea@flpllp.com
Jeremy Freedman                                                               jeremy.freedman@dinsmore.com
on behalf of Plaintiff Richard A. Marshack                                    bonnie.connolly@dinsmore.com
Jeremy Freedman                                                               jeremy.freedman@dinsmore.com
on behalf of Trustee Richard A. Marshack (TR)                                 bonnie.connolly@dinsmore.com
Christopher Ghio                                                              christopher.ghio@dinsmore.com
on behalf of Plaintiff Richard A. Marshack                                    angelica.urena@dinsmore.com
Christopher Ghio                                                              christopher.ghio@dinsmore.com
on behalf of Trustee Richard A. Marshack (TR)                                 angelica.urena@dinsmore.com
Eric D Goldberg                                                               eric.goldberg@dlapiper.com
on behalf of Defendant Stripe, Inc.                                           eric-goldberg-1103@ecf.pacerpro.com
Richard H Golubow                                                             rgolubow@wghlawyers.com
on behalf of Creditor Debt Validation Fund II, LLC                            jmartinez@wghlawyers.com
                                                                              svillegas@wghlawyers.com
Richard H Golubow                                                             rgolubow@wghlawyers.com
on behalf of Creditor MC DVI Fund 1, LLC                                      jmartinez@wghlawyers.com
                                                                              svillegas@wghlawyers.com
Richard H Golubow                                                             rgolubow@wghlawyers.com
on behalf of Creditor MC DVI Fund 2, LLC                                      jmartinez@wghlawyers.com
                                                                              svillegas@wghlawyers.com
Veneeta Jaswal                                                                veneeta.jaswal@dinsmore.com
on behalf of Plaintiff Richard A. Marshack                                    bonnie.connolly@dinsmore.com
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Sweeney Kelly                                                                 kelly@ksgklaw.com
on behalf of Defendant Fidelity National Information
Services, Inc.
Sweeney Kelly                                                                 kelly@ksgklaw.com
on behalf of Defendant Fidelity National Information
Services, Inc. dba FIS
Sweeney Kelly                                                                 kelly@ksgklaw.com
on behalf of Defendant Worldpay Group
Sweeney Kelly                                                                 kelly@ksgklaw.com
on behalf of Defendant Worldpay, LLC
Ira David Kharasch                                                            ikharasch@pszjlaw.com
on behalf of Defendant Consumer Legal Group, PC
Ira David Kharasch                                                            ikharasch@pszjlaw.com
on behalf of Defendant LGS Holdco, LLC
Meredith King                                                                 mking@fsl.law
on behalf of Defendant Gallant Law Group                                      ssanchez@fsl.law
                                                                              jwilson@fsl.law
Meredith King                                                                 mking@fsl.law
on behalf of Interested Party Courtesy NEF                                    ssanchez@fsl.law
                                                                              jwilson@fsl.law
David S Kupetz                                                                David.Kupetz@lockelord.com
on behalf of Defendant Marich Bein, LLC                                       mylene.ruiz@lockelord.com
Matthew A. Lesnick                                                            matt@lesnickprince.com
on behalf of Defendant Optimumbank Holdings, Inc. d/b/a                       matt@ecf.inforuptcy.com
Optimum Bank                                                                  jmack@lesnickprince.com
Daniel A Lev                                                                  daniel.lev@gmlaw.com
on behalf of Interested Party Courtesy NEF                                    cheryl.caldwell@gmlaw.com
                                                                              dlev@ecf.courtdrive.com
Yosina M Lissebeck                                                            yosina.lissebeck@dinsmore.com
on behalf of Plaintiff Richard A. Marshack                                    caron.burke@dinsmore.com
Daniel S March                                                                marchlawoffice@gmail.com
on behalf of Defendant Daniel S. March                                        marchdr94019@notify.bestcase.com
Kathleen P. March                                                             kmarch@bkylawfirm.com
on behalf of Defendant Greyson Law Center PC                                  kmarch3@sbcglobal.net
                                                                              kmarch@sbglobal.net
Kathleen P. March                                                             kmarch@bkylawfirm.com
on behalf of Defendant Han Trinh                                              kmarch3@sbcglobal.net
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Kathleen P. March                                                             kmarch@bkylawfirm.com
on behalf of Defendant Jayde Trinh                                            kmarch3@sbcglobal.net
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Kenneth Misken                                                                Kenneth.M.Misken@usdoj.gov
on behalf of U.S. Trustee United States Trustee (SA)
Victoria Newmark                                                              vnewmark@pszjlaw.com
on behalf of Defendant Consumer Legal Group, PC
Victoria Newmark                                                              vnewmark@pszjlaw.com
on behalf of Defendant LGS Holdco, LLC
Queenie K Ng                                                                  queenie.k.ng@usdoj.gov
on behalf of U.S. Trustee United States Trustee (SA)


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Lisa Patel                                                                    lpatel@lesnickprince.com
on behalf of Defendant OptimumBank Holdings, Inc.                             jmack@lesnickprince.com
                                                                              jnavarro@lesnickprince.com
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on behalf of Defendant Touzi Capital, LLC                                     dhr@ecf.inforuptcy.com
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on behalf of Witness Bradford Lee
Johnny White                                                                  JWhite@wrslawyers.com
on behalf of Interested Party Courtesy NEF                                    jlee@wrslawyers.com




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